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                                                                          4
                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER REGARDING
                                                                         10   This Order Relates To:                  )   SUPPLEMENTAL SUBMISSIONS IN
                               For the Northern District of California
United States District Court




                                                                                                                      )   SUPPORT OF MOTIONS AND IN
                                                                         11                                           )   PREPARATION FOR THE CASE
                                                                              ALL ACTIONS                             )   STATUS CONFERENCE
                                                                         12                                           )
                                                                                                                      )
                                                                         13                                           )
                                                                                                                      )
                                                                         14                                           )
                                                                                                                      )
                                                                         15                                           )
                                                                                                                      )
                                                                         16                                           )
                                                                         17
                                                                         18        On August 7, 2015, the parties will meet for a case status
                                                                         19   conference.   Numerous parties have settled some or all of their
                                                                         20   claims, mooting certain motions, delaying others, and causing still
                                                                         21   others to become ripe for ruling.       The Court issues this order to
                                                                         22   simplify and streamline the parties' submissions, the Court's
                                                                         23   consideration of those submissions, and maximize the efficiency of
                                                                         24   the Court and all parties during the status conference.
                                                                         25        First, the Court ORDERS parties to identify and jointly file a
                                                                         26   single list of any tag-along cases presently pending transfer to
                                                                         27   the Court by the JPMDL or any other known cases related to this MDL
                                                                         28   known by counsel but not at present subject to a motion to transfer
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                                                                          1   pursuant to 28 U.S.C. § 1407.      For each such case, include the case
                                                                          2   name, an ECF or docket number, the jurisdiction in which it is
                                                                          3   presently pending, and (if applicable) the reason the case is not
                                                                          4   subject to a motion to transfer.
                                                                          5        Second, the Court ORDERS Class Counsel for Direct Purchaser
                                                                          6   Plaintiffs (DPPs), Class Counsel for Indirect Purchaser Plaintiffs
                                                                          7   (IPPs), and DAP Liaison Counsel to jointly file a single list of
                                                                          8   which cases associated with this MDL can be terminated and in which
                                                                          9   pending motions can be terminated.       This list will help the Court
                                                                         10   determine which motions remain active in light of the numerous
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                                                                         11   recent settlements and other dismissals.        A list of cases
                                                                         12   associated with this MDL as generated by ECF is attached to assist
                                                                         13   in the completion of this list.
                                                                         14        Third, the Court ORDERS DAPs' Liaison Counsel to identify all
                                                                         15   DAP cases that will be subject to remand upon completion of
                                                                         16   pretrial matters pursuant to 28 U.S.C. § 1407 and the Supreme
                                                                         17   Court's decision in Lexecon, Inc. v. Milberg Weiss Bershad Hynes &
                                                                         18   Lerach, 523 U.S. 26 (1998).      Also note if the parties presently
                                                                         19   anticipate settling the matter or proceeding to trial.
                                                                         20        Fourth, the Court ORDERS all DAP Defendants to jointly file a
                                                                         21   single list of all DAP cases that will remain for trial within this
                                                                         22   Judicial District after all pre-trial matters have been resolved.
                                                                         23   Cross list by Defendant, the case name, ECF number, and each
                                                                         24   plaintiff that is asserting a claim against the Defendant.
                                                                         25        Fifth, the Court ORDERS that if a case will remain in this
                                                                         26   district, the parties to such actions shall confer and file a
                                                                         27   joint, single submission proposing how the parties propose to try
                                                                         28   the case.   This submission should include a schedule as complete as



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                                                                          1   possible to maximize the efficiency of all relevant parties at the
                                                                          2   upcoming case status conference.      Notwithstanding any other
                                                                          3   deadlines set herein, this list shall be due to the Court not later
                                                                          4   than 10 days prior to the scheduling conference.
                                                                          5         Sixth, the Court ORDERS the parties to file a single, joint
                                                                          6   spreadsheet or other document showing, in tabular format, any
                                                                          7   pending motion that the parties believe to be claim or party
                                                                          8   dispositive.    This will assist the Court in prioritizing its review
                                                                          9   of pending motions.    The list should not include motions in limine
                                                                         10   and other motions related to conduct of any trial.          As an example
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                                                                         11   of the information the Court requests from the parties, a
                                                                         12   suggestion follows.    In complying with this directive, the parties
                                                                         13   need not follow the suggested format precisely, but should provide
                                                                         14   the essential information set forth below.
                                                                         15
                                                                              ECF   Movant     Motion              Adverse Parties       Opp'n   Reply
                                                                         16   No.                                                        ECF     ECF
                                                                         17                                                              No.     No.
                                                                              2976 Hitachi     Motion for          IPPs,                 3274    X
                                                                         18        Parties     Summary             Electrograph,
                                                                                   (joinder    Judgment Based      Circuit City,
                                                                         19        by          on Lack of          Best Buy, Target,
                                                                         20        Toshiba,    Evidence of         Sears, Interbond,
                                                                                   ECF No.     Participation       Office Depot,
                                                                         21        3010)       in Alleged          CompuCom, Costco,
                                                                                               Conspiracy          P.C. Richard &
                                                                         22                                        Son, Schultze,
                                                                                                                   and Tech Data
                                                                         23
                                                                         24   If for any reason (e.g., settlement) a dispositive motion yet to be

                                                                         25   decided is in whole or part no longer active against some of the

                                                                         26   initially adverse parties but remains active against others or

                                                                         27   requires review for only certain issues, the parties shall include

                                                                         28   ///



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                                                                          1   the motion and indicate no further review by the Court is required
                                                                          2   by using strikethrough, footnote, or some other means.
                                                                          3        As these six lists or submissions will require coordination
                                                                          4   among different parties and may be more or less readily available,
                                                                          5   they may be filed together in a single document or as up to six
                                                                          6   separate documents filed at different times in the manner described
                                                                          7   below.   However, all responsive documents must reference they are
                                                                          8   in satisfaction of this order and must be filed not later than 20
                                                                          9   calendar days prior to the status conference, unless otherwise
                                                                         10   specified herein.
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                                                                         11        The document(s) should be submitted via ECF, in electronic
                                                                         12   format to the Court's proposed order email inbox,
                                                                         13   SCpo@cand.uscourts.gov, and via a printed courtesy copy to
                                                                         14   Chambers.   The requirements set forth in the Court's January 15,
                                                                         15   2015 Order, ECF No. 3398, regarding updates to the local rules with
                                                                         16   respect to this case remain in effect as applied to all other case
                                                                         17   filings.
                                                                         18
                                                                         19        IT IS SO ORDERED.
                                                                         20
                                                                         21        Dated: June 23, 2015
                                                                                                                   UNITED STATES DISTRICT JUDGE
                                                                         22
                                                                         23
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                   Attachment
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MDL No. 1917 In Re: Cathode Ray Tube (CRT) Antitrust Litigation
Member cases:
 3:08-cv-00178-SC
 3:08-cv-00309-SC
 3:07-cv-06433-SC
 3:07-cv-05981-SC
 3:07-cv-06279-SC
 3:07-cv-06303-SC
 3:07-cv-06331-SC
 3:07-cv-06225-SC
 3:07-cv-06416-SC
 3:08-cv-00494-SC
 3:08-cv-01056-SC
 3:08-cv-01032-SC
 3:08-cv-00337-SC
 3:08-cv-01345-SC
 3:08-cv-01108-SC
 3:08-cv-01364-SC
 3:08-cv-01371-SC
 3:08-cv-01319-SC
 3:08-cv-01621-SC
 3:08-cv-01622-SC
 3:08-cv-01623-SC
 3:08-cv-01624-SC
 3:08-cv-01626-SC
 3:08-cv-01627-SC
 3:08-cv-01721-SC
 3:08-cv-00614-SC
 3:08-cv-01807-SC
 3:08-cv-01559-SC
 3:08-cv-01983-SC
 3:08-cv-01984-SC
 3:08-cv-01985-SC
 3:08-cv-02024-SC
 3:08-cv-02023-SC
 3:08-cv-02204-SC
 3:08-cv-02205-SC
 3:08-cv-02206-SC
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  3:08-cv-02980-SC
  3:08-cv-03493-SC
  3:08-cv-04063-SC
  3:08-cv-05521-SC
  3:11-cv-01656-SC
  3:11-cv-05513-SC
  3:11-cv-06275-SC
  3:11-cv-06276-SC
  3:11-cv-06397-SC
  3:11-cv-06396-SC
  3:11-cv-05502-SC
  3:11-cv-06205-SC
  3:11-cv-05381-SC
  3:11-cv-05515-SC
  3:11-cv-05514-SC
  3:12-cv-01998-SC
  3:12-cv-02648-SC
  3:12-cv-02649-SC
  3:13-cv-00157-SC
  3:13-cv-02171-SC
  3:13-cv-05724-SC
  3:13-cv-05723-SC
  3:13-cv-01173-SC
  3:13-cv-02776-SC
  3:13-cv-03234-SC
  3:13-cv-05668-SC
  3:13-cv-05727-SC
  3:13-cv-05726-SC
  3:13-cv-05725-SC
  3:13-cv-05261-SC
  3:13-cv-05262-SC
  3:13-cv-05264-SC
  3:13-cv-05686-SC
  3:14-cv-02058-SC
  3:14-cv-02510-SC
Related Case: 3:12-mc-80151-SC        Cases in other courts: 13-80210
                                                             14-16817
